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October 22, 2020
VIA ECF

Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: Giuffre v. Maxwell, Case No. 15-Civ-7433-LAP
Dear Judge Preska,

Intervenor/Nonparty Alan Dershowitz (hereinafter “Professor Dershowitz”) respectfully
requests that all redactions of his name, in the unsealed materials posted on the docket on this date
(Dkt. No. 1137), be unredacted. Professor Dershowitz particularly notes, having now reviewed the
deposition transcript of Ghislaine Maxwell, as filed by Sigrid McCawley of Boies Schiller Flexner
LLP on behalf of Virginia Giuffre, that his name appears multiple times within the transcript, but has
been subject to redaction. Professor Dershowitz, however, desires just the opposite - and requests that
his name be fully displayed in the transcript where it appears.

As the “John Does” and other nonparties have been afforded the ability to enjoy the cloak of
confidentiality gained by redaction, Professor Dershowitz, who has tirelessly advocated for full
transparency and fought for the unsealing and disclosure of material and information in this case,
should be afforded the ability to have his name displayed where it appears, without redaction, as he
so strongly desires. As Professor Dershowitz has continually stated: He has nothing to hide.

Wherefore, we respectfully request that this Court issue an Order directing Virginia Giuffre
to refile the materials contained in Dkt. No. 1137 with Professor Dershowitz’s name unredacted, or
in the alternative, permit Professor Dershowitz to file the aforementioned documents himself, with

his name identified.
Respectfully WA

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CC: Professor Alan Dershowitz eS
Howard Cooper, Esq.
Arthur Aidala, Esq.

All Counsel of Record via ECF
